                                                             Case 2:15-cv-00652-AB-E Document 184 Filed 01/15/19 Page 1 of 4 Page ID #:2233



                                                              1    STEPHEN J. ERIGERO (SBN 121616)
                                                                   TAHEREH MAHMOUDIAN (SBN 217120)
                                                              2    ROPERS, MAJESKI, KOHN & BENTLEY
                                                                   445 South Figueroa Street, Suite 3000
                                                              3    Los Angeles, California 90071
                                                                   Telephone: (213) 312-2000
                                                              4    Facsimile: (213) 312-2001
                                                                   Email:      stephen.erigero@rmkb.com
                                                              5    Email:      tahereh.mahmoudian@rmkb.com
                                                              6    Attorneys for Defendants LAW OFFICES OF NAPOLI
                                                                   BERN RIPKA & ASSOCIATES LLP; LAW OFFICES
                                                              7    OF NAPOLI BERN RIPKA SHKOLNIK LLP; LAW
                                                                   OFFICES OF NAPOLI BERN, LLP; NAPOLI & BERN LLP;
                                                              8    NAPOLI BERN LLP; NAPOLI KAISER BERN &
                                                                   ASSOCIATES LLP; NAPOLI, BERN & ASSOCIATES,
                                                              9    LLP; NAPOLI, BERN, KRENTSEL & GUZMAN, LLP; and
Ropers Majeski Kohn & Bentley




                                                                   WORBY, GRONER, EDELMAN & NAPOLI, BERN, LLP
                                                             10
                                                             11                            UNITED STATES DISTRICT COURT
                                A Professional Corporation




                                                             12            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
                                       Los Angeles




                                                             13
                                                             14    MARC I. WILLICK, an individual,
                                                                                                            Case No. CV 15-00652-AB (Ex)
                                                             15                       Plaintiff,
                                                                                                            Hon. André Birotte, Jr. – Courtroom 7B
                                                             16    v.
                                                                                                            NEWLY-SERVED DEFENDANTS’
                                                             17    NAPOLI BERN RIPKA &                      NOTICE OF INTERESTED
                                                                   ASSOCIATES, LLP, a limited liability     PARTIES
                                                             18    partnership; NAPOLI BERN RIPKA
                                                                   SHKOLNIK & ASSOCIATES, LLP, a            (Local Rule 7.1-1)
                                                             19    limited liability partnership; NAPOLI
                                                                   BERN RIPKA SHKOLNIK, LLP, a              DATE:        February 15, 2019
                                                             20    limited liability partnership; NAPOLI    TIME:        10:00 a.m.
                                                                   BERN RIPKA, LLP, a limited liability     CTRM:        7B
                                                             21    partnership; NAPOLI KAISER BERN,
                                                                   LLP, a limited liability partnership;
                                                             22    MARC J. BERN, an individual; PAUL
                                                                   J. NAPOLI, an individual; NAPOLI
                                                             23    BERN, LLP, a limited liability
                                                                   partnership; NAPOLI, KAISER, BERN
                                                             24    & ASSOCIATES, LLP, a limited
                                                                   liability partnership; NAPOLI, BERN
                                                             25    & ASSOCIATES, LLP, a limited
                                                                   liability partnership; LAW OFFICES
                                                             26    OF NAPOLI BERN, LLP, a limited
                                                                   liability partnership; LAW OFFICES
                                                             27    OF NAPOLI BERN RIPKA &
                                                                   ASSOCIATES LLP, a limited liability
                                                             28    partnership; LAW OFFICES OF
                                                                                                                          NEWLY-SERVED DEFENDANTS’
                                                                   4822-3078-0549.1
                                                                                                           -1-
                                                                                                                        NOTICE OF INTERESTED PARTIES
                                                             Case 2:15-cv-00652-AB-E Document 184 Filed 01/15/19 Page 2 of 4 Page ID #:2234



                                                              1    NAPOLI BERN RIPKA SHKOLNIK
                                                                   LLP, a limited liability partnership;
                                                              2    LAW OFFICES OF NAPOLI BERN
                                                                   RIPKA SHKOLNIK & ASSOCIATES
                                                              3    LLP, a limited liability partnership;
                                                                   PASTERNACK TILKER NAPOLI
                                                              4    BERN, LLP, a limited liability
                                                                   partnership; NAPOLI SHKOLNIK
                                                              5    PLLC, a professional limited liability
                                                                   company; NAPOLI LAW PLLC, a
                                                              6    professional limited liability company;
                                                                   PAUL NAPOLI LAW PLLC, a
                                                              7    professional limited liability company;
                                                                   BERN RIPKA LLP, a limited liability
                                                              8    partnership; MARC J. BERN &
                                                                   PARTNERS LLP, a limited liability
                                                              9    partnership; NAPOLI & BERN, LLP, a
Ropers Majeski Kohn & Bentley




                                                                   limited liability partnership; MARC J.
                                                             10    BERN PLLC, a professional limited
                                                                   liability company; NAPOLI, KAISER
                                                             11    & ASSOCIATES, LLP, a limited
                                A Professional Corporation




                                                                   liability partnership; NAPOLI, BERN,
                                                             12    KRENTSEL & GUZMAN, LLP, a
                                       Los Angeles




                                                                   limited liability partnership; WORBY,
                                                             13    GRONER, EDELMAN & NAPOLI,
                                                                   BERN, LLP, a limited liability
                                                             14    partnership; PAUL NAPOLI PLLC, a
                                                                   professional limited liability company,
                                                             15    and DOES 1 through 50,
                                                             16                       Defendants.
                                                             17
                                                             18    TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                             19             The undersigned, counsel of record for nine newly-served partnerships,
                                                             20    (1) Law Offices of Napoli Bern Ripka & Associates LLP; (2) Law Offices of
                                                             21    Napoli Bern Ripka Shkolnik LLP; (3) Law Offices of Napoli Bern, LLP; (4) Napoli
                                                             22    & Bern LLP; (5) Napoli Bern LLP; (6) Napoli Kaiser Bern & Associates LLP;
                                                             23    (7) Napoli, Bern & Associates, LLP; (8) Napoli, Bern, Krentsel & Guzman, LLP;
                                                             24    and (9) Worby, Groner, Edelman & Napoli, Bern, LLP, certifies that the following
                                                             25    listed parties may have a pecuniary interest in the outcome of this case. These
                                                             26    representations are made to enable the Court to evaluate possible disqualification or
                                                             27    recusal.
                                                             28    ///
                                                                                                                              NEWLY-SERVED DEFENDANTS’
                                                                   4822-3078-0549.1
                                                                                                             -2-
                                                                                                                            NOTICE OF INTERESTED PARTIES
                                                             Case 2:15-cv-00652-AB-E Document 184 Filed 01/15/19 Page 3 of 4 Page ID #:2235



                                                              1             (1)       Law Offices of Napoli Bern Ripka & Associates LLP, a limited
                                                              2    liability partnership formed pursuant to the laws of the state of Delaware with
                                                              3    principal place of business in the state of New York.
                                                              4             (2)       Law Offices of Napoli Bern Ripka Shkolnik LLP, a limited liability
                                                              5    partnership formed pursuant to the laws of the state of Delaware with principal
                                                              6    place of business in the state of New York.
                                                              7             (3)       Law Offices of Napoli Bern, LLP, a limited liability partnership
                                                              8    formed pursuant to the laws of the state of Delaware with principal place of
                                                              9    business in the state of New York.
Ropers Majeski Kohn & Bentley




                                                             10             (4)       Napoli & Bern LLP, a limited liability partnership formed pursuant to
                                                             11    the laws of the state of New York and with its principal place of business in New
                                A Professional Corporation




                                                             12    York.
                                       Los Angeles




                                                             13             (5)       Napoli Bern LLP, a limited liability partnership formed pursuant to the
                                                             14    laws of the state of New York and with its principal place of business in New York.
                                                             15             (6)       Napoli Kaiser Bern & Associates LLP, a limited liability partnership
                                                             16    formed pursuant to the laws of the state of New York and with its principal place of
                                                             17    business in New York.
                                                             18             (7)       Napoli, Bern & Associates, LLP, a limited liability partnership formed
                                                             19    pursuant to the laws of the state of New York and with its principal place of
                                                             20    business in New York.
                                                             21             (8)       Napoli, Bern, Krentsel & Guzman, LLP, a limited liability partnership
                                                             22    formed pursuant to the laws of the state of New York with its principal place of
                                                             23    business in New York.
                                                             24             (9)       Worby, Groner, Edelman & Napoli, Bern, LLP, a limited liability
                                                             25    partnership formed pursuant to the laws of the state of New York with its principal
                                                             26    place of business in New York.
                                                             27             (10) Evanston Insurance Company, an Illinois Corporation, insurance carrier
                                                             28    for all the above partnerships, except for Napoli & Bern, LLP.
                                                                                                                                   NEWLY-SERVED DEFENDANTS’
                                                                   4822-3078-0549.1
                                                                                                                 -3-
                                                                                                                                 NOTICE OF INTERESTED PARTIES
                                                             Case 2:15-cv-00652-AB-E Document 184 Filed 01/15/19 Page 4 of 4 Page ID #:2236



                                                              1
                                                              2                                    ROPERS, MAJESKI, KOHN & BENTLEY
                                                                   Dated: January 15, 2019
                                                              3
                                                              4                                    By: /s/ Tahereh Mahmoudian
                                                                                                      STEPHEN J. ERIGERO
                                                              5                                       TAHEREH MAHMOUDIAN
                                                                                                      Attorneys for Defendants
                                                              6                                       LAW OFFICES OF NAPOLI BERN
                                                                                                      RIPKA & ASSOCIATES LLP; LAW
                                                              7                                       OFFICES OF NAPOLI BERN RIPKA
                                                                                                      SHKOLNIK LLP; LAW OFFICES OF
                                                              8                                       NAPOLI BERN, LLP; NAPOLI & BERN
                                                                                                      LLP; NAPOLI BERN LLP; NAPOLI
                                                              9                                       KAISER BERN & ASSOCIATES LLP;
Ropers Majeski Kohn & Bentley




                                                                                                      NAPOLI, BERN & ASSOCIATES, LLP;
                                                             10                                       NAPOLI, BERN, KRENTSEL &
                                                                                                      GUZMAN, LLP; and WORBY, GRONER,
                                                             11                                       EDELMAN & NAPOLI, BERN, LLP
                                A Professional Corporation




                                                             12
                                       Los Angeles




                                                             13
                                                             14
                                                             15
                                                             16
                                                             17
                                                             18
                                                             19
                                                             20
                                                             21
                                                             22
                                                             23
                                                             24
                                                             25
                                                             26
                                                             27
                                                             28
                                                                                                       -4-              NEWLY-SERVED DEFENDANTS’
                                                                   4822-3078-0549.1                                   NOTICE OF INTERESTED PARTIES
